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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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ADRIANO J. GRULLON, :
Plaintiff,
-against- : 20-cv-6122 (KPF)(OTW)
insert text here
JUSTIN PHARMACY INC. and BINU BABY,
Defendants. :
--- xX

 

SETTLEMENT AGREEMENT AND RELEASE

This Settlement Agreement and Release of Wage and Hour Claims (“Agreement”), is
entered into by and between Adriano J. Grullon (hereinafter referred to as “Plaintiff or
“Releasor”), and Justin Pharmacy Inc. and each of its parent companies and any of its
subsidiaries, divisions, related companies, predecessors, successors, assigns, current or former
employees, agents, shareholders, officers, directors and representatives, as well as Binu Baby
(hereinafter collectively referred to as the “Defendants” or “Releasees”) (Plaintiff and
Defendants are referred to herein as the “Parties”).

WHEREAS, on August 6, 2020, Plaintiff filed suit for damages titled Adriano J. Grullon
v. Justin Pharmacy Inc. et ano., 20-cv-6122 in the United States District Court for the Southern
District of New York (hereinafter referred to as the “Action”), alleging claims for, among other
things, unpaid overtime wages under the federal Fair Labor Standards Act and New York State
Labor Law; and,

WHEREAS, Defendants have contested the claims set forth in the Action and deny any

and all liability; and,
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WHEREAS, the Parties now desire to settle the claims and to resolve fully all wage and
hour disputes or potential wage and hour disputes between them, including but not limited to
Plaintiff's claims in the Action, without the time, uncertainty, and expense of further litigation;
and,

NOW, THEREFORE, in consideration of the promises and mutual covenants set forth in
this Agreement, the sufficiency of which is hereby acknowledged, the Parties hereby agree as
follows:

A. Consideration

1. In exchange for the promises contained in this Agreement, Defendants, in
accordance with the terms of this Agreement, shall pay to Plaintiff the total settlement amount of
Twenty-Two Thousand Five Hundred Dollars and Zero Cents ($22,500.00) (the “Settlement
Sum”), to be allocated as follows: (a) Fourteen Thousand Four Hundred Seventy Five Dollars
and Zero Cents ($14,475.00) to Plaintiff; and (b) Eight Thousand Two Hundred Twenty Five
Dollars ($8,225.00) to Akin Law Group PLLC for attorneys’ fees and costs.

2. Defendants shall pay the Settlement Sum in installments by delivering:

a. Payment of $11,000 by December 31, 2020 allocated as follows:
i. $11,000.00 to Plaintiff.

b. Payment of $5,750 by January 29, 2021 allocated as follows:
i. $3,475.00 to Plaintiff
ii. $2,275.00 to Akin Law Group PLLC;

c. Payment of $5,750 by February 26, 2021 allocated as follows:

i. $5,750 to Akin Law Group PLLC.
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3 Prior to Defendants’ obligation to remit payment of the Settlement Sum,
Defendants’ counsel must first receive possession of the following: (i) a completed IRS Form W-
9 by Plaintiff; (ii) a completed IRS Form W-9 by Plaintiff's counsel; (iii) an executed copy of

this Agreement; and (iv) confirmation that the Action has been discontinued and/or dismissed.

4. The Settlement Sum shall be paid to Plaintiff in exchange for Plaintiff's
release of his wage and hour claims and other promises below, and in full and complete
settlement of any and all wage and hour claims or potential wage and hour claims between the
Parties, including but not limited to those arising from, involving or relating to Plaintiffs claims
in the Action, including any and all claims for damages, liquidated damages, compensatory or
punitive damages, injunctive relief, attorneys’ fees, expenses and costs, or other relief. Payments
of the Settlement Sum as established in Section A(2) of this Agreement shall be delivered to

Akin Law Group PLLC, 45 Broadway #1420, New York, NY 10006.

3 The Parties agree that should any federal, state or local taxes be
determined to be owing by any party on the payment of the sums received by Plaintiff under this
paragraph, Plaintiff shall be solely and completely responsible for his taxes, interest or penalties.
Plaintiff understands and agrees that no representation is made by or on behalf of Defendants
regarding tax obligations or consequences that may arise from this Agreement.

6. Plaintiff agrees to indemnify Defendants and to hold Defendants harmless
for Plaintiff's share of taxes, penalties and interest, withholding or otherwise, as a consequence
of the monies paid to Plaintiff pursuant to this Agreement.

B. Mutual General Release

I. By Plaintiff: In consideration of the promises and actions of Defendants

set out in this Agreement, and other good and valuable consideration, the receipt and sufficiency
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of which is hereby acknowledged, except for the Defendants’ obligations under this Agreement,
Plaintiff hereby waives, releases, satisfies, and discharges, on his own behalf and on behalf of
anyone who could claim by and through him (collectively, “Releasors”), Defendants
(collectively, “Releasees”) of and from (1) any and all claims for damages, salaries, wages,
compensation, overtime compensation, monetary relief, and any other benefits of any kind,
earnings, back pay, liquidated, and other damages, interest, attorneys’ fees, and costs, for any
claim brought, or that could have been brought, under the Fair Labor Standards Act (“FLSA”),
and/or any local, state, or federal wage statute, code, or ordinance, including, but not limited to,
claims under Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621 et
seq. (“ADEA”), Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et
seq. (“Title VII”), the Reconstruction Era Civil Rights Act, as amended, 42 U.S.C §§ 1981 et
seq. (“Civil Rights Act”), the Civil Rights Act of 1991, as amended, 42 U.S.C. §§ 1981a et seq.
(“CRA of 1991”), the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seg. (“ADA”), the
Family and Medical Leave Act, 29 U.S.C. §§ 2601 et seq. (“FMLA”), the Fair Labor Standards
Act, 29 U.S.C. §§ 201 et seq. (“FLSA”), the Employee Retirement Income Security Act of 1974,
as amended, 29 U.S.C. §§ 1001 et seq. (“ERISA”), the Equal Pay Act of 1963, the Older
Workers’ Benefit Protection Act of 1990, the Worker Adjustment and Retraining Notification
Act of 1988, the New York State Human Rights Law, the New York Civil Rights Law, the New
York State Insurance Law, the New York Labor Law, the New York City Human Rights Law,
any of the statutes or common law causes of action of the State of New York or any other state,
the New York Constitution, the United States Constitution and/or any and all other federal, state,
or local statutes, laws, rules, and regulations pertaining to employment, as well as any and all

claims under state contract or tort law, which were or could have been alleged by Plaintiff in the

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Pending Action, accruing through the date of this Agreement, and (2) any and all claims,
charges, actions, and causes of action of any kind or nature that Plaintiff once had or now have,
whether arising out of Plaintiff's employment with Defendants, or otherwise. Nothing in this
Agreement shall be deemed to waive any right Plaintiff may have to file any claim with any
administrative agency where such claim can be filed. However, notwithstanding any such right
to file a claim, Plaintiff shall not recover any monetary damages and shall not be entitled to any
individual relief on his behalf as a result of filing said claim.

2. This release shall not affect or limit: (a) any claims that may arise after the date
Plaintiff signs this Agreement, or (b) Plaintiff's right to enforce the terms of this Agreement.

3. By Defendants: Defendants release Plaintiff, including his successors, heirs,
executors, assigns, representatives, and administrators, from any and all claims, charges, actions,
and causes of action of any kind or nature that Defendants, individually and collectively, once
had or now have arising out of Plaintiff's employment with Defendants or otherwise, whether
such claims are now known or unknown to Defendants, from the beginning of the world to the
date of this Agreement.

D. Agreement To Refrain From Filing Claims

Plaintiff represents that he has not filed any other lawsuit or initiated any other
proceeding against any of the Defendants, except the Action released herewith. Plaintiff also
agrees not to bring any lawsuit or initiate any proceeding for any claim waived in any paragraph
of this Agreement, and agrees, further, not to permit anyone else to do so on his behalf, to the

maximum extent possible under applicable law.
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E. Judicial Review/Dismissal of the Complaint
Contemporaneously with the execution of this Agreement, the Parties, by their

respective counsel, shall execute a Stipulation and Order of Dismissal, dismissing the Complaint
with prejudice, which Stipulation and Order shall expressly provide that, with the Court’s
consent, the Court shall retain jurisdiction over this matter solely for purposes of enforcement of
this Agreement. The Parties, through counsel, will submit the Stipulation and Order of
Dismissal, simultaneously with this Agreement, to the Court for Judicial review and approval.

F. Representations and Acknowledgements

L, Plaintiff represents that he has consulted with an attorney prior to signing
this Agreement and that this Agreement is the product of negotiations between his attorneys and
the attorneys for the Defendants. Plaintiff further represents that:

(a) He has reviewed each and every provision of this Agreement,

(b) The Agreement has been explained to him by his attorneys; and

(c) He does in fact fully understand this Agreement, including the release
of claims.

2. Plaintiff also represents that he voluntarily and knowingly enters into this
Agreement of his own free will.

3. Plaintiff further represents that neither the Releasees nor any of their
agents, representatives or attorneys made any representations concerning the terms or the effects
of this Agreement other than those contained herein, that his decision to sign this Agreement is
not based in whole or in part on any statement or promise that does not appear within the four
corners of this document, and that he has been fairly represented by his attorneys throughout

these proceedings.
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G. Non-Admissions

I. Plaintiff agrees that the Defendants are entering into this Agreement solely
for the purpose of avoiding the burdens and expenses of protracted litigation. Plaintiff
understands that by entering into this Agreement, the Defendants do not acknowledge or admit
in any way that Plaintiffs claims in the Action have any merit, or that the Defendants engaged
in any wrongdoing against Plaintiff or violated any federal, state or local law, statute, order,
ordinance, rule, regulation, or contract or common law requirement, duty, or obligation.

2. Whether or not this Agreement becomes effective, neither this Agreement,
nor any exhibit, documents, or instrument delivered hereunder, nor any statement, negotiations,
transactions, or proceedings in connection therewith, shall in any event be construed as, or be
deemed to be, or be offered by Plaintiff in any action or proceeding of any kind as evidence of:
(a) an admission or concession on the part of the Defendants of any liability or wrongdoing or
of any violation of any federal, state, or local statute, rule, regulation or principle of common
law or equity; or (b) an admission or concession on the part of the Defendants that Plaintiff has
suffered any damage. Additionally, Plaintiff agrees that nothing in this Agreement may be used
by either party in any proceeding of any kind for any purpose of any kind, except to enforce its
terms.

H. Attorneys’ Fees and Costs

The Parties are responsible for their own attorneys’ fees and costs in connection
with this matter. In the event either party brings a motion or action to enforce the terms of this
Agreement, the prevailing party shall recover the costs and reasonable attorneys’ fees from the

other party.
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I. Complete Agreement

This Agreement constitutes the full and complete agreement between the Parties
and fully supersedes any and all prior agreements, commitments or understandings between the
Parties pertaining to the subject matter thereof.

J. Additional Terms

I. This Agreement is made and entered into in the State of New York and
shall in all respects be interpreted, enforced and governed under the laws of said State. The
parties hereby consent to the jurisdiction of the United States District Court for the Southern
District of New York in connection with any dispute concerning this Agreement.

2. The language of all parts of this Agreement shall be construed as a whole,
according to its fair meaning, and not strictly for or against either party, regardless of who
drafted it.

2, Should any provision of this Agreement be declared or determined by any
court of competent jurisdiction to be illegal or invalid, the remainder of this Agreement shall
remain fully enforceable.

4. This Agreement, including this paragraph, may not be altered in any
respect except by a writing duly executed by the parties or authorized representatives of the

parties. This Agreement may not be modified orally.
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WHEREFORE, the Parties hereto have read the foregoing Agreement and accept and agree to

the provisions contained herein.

» Hh ©

Adriano J. Grullon
November 12

 

Dated: , 2020
By:

Binu Baby
Dated: , 2020

Justin Pharmacy Inc.

By:

 

 

[Print Name and Title]

Dated: , 2020
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WHEREFORE, the Parties hereto have read the foregoing Agreement and accept and agree to

the provisions contained herein.

 

By:

Adriano J. Grullon
Dated: , 2020
By: a

 

Binu Baby

Dated: || | LO , 2020

Justin Pharmacy Inc.

By: 7) NU° ‘ ei
P Resiclot

[Print Name and Title]

 

Dated: _| v0 , 2020
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ADRIANO J. GRULLON, *
Plaintiff,
-against- 20-cv-6122 (KPF)(OTW)
JUSTIN PHARMACY INC. and BINU BABY, |
Defendants. :
Xx

 

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
WHEREAS, on August 6, 2020, Plaintiff filed a Complaint asserting claims for,
inter alia, failure to pay overtime wages under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”) and/or the New York Labor Law §190 et seq. (“NYLL”);

WHEREAS, Plaintiff and Defendants (the “Parties”) reached a settlement of this
action and Plaintiff’s claims through arms-length negotiations, and have entered ihto a
Settlement Agreement and Mutual General Release (the “Agreement”), formally
memorializing the Parties’ settlement;

WHEREAS, the terms of the Agreement, which are incorporated herein by
reference, have been reviewed and scrutinized by the Court and are approved and
considered a fair and reasonable resolution of, inter alia, a bona fide dispute oer a
provision or provisions of the FLSA, the NYLL, and/or time worked; and

WHEREAS, this Court shall retain jurisdiction to enforce the terms df the

Agreement,

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{T IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for the Parties, that this action be hereby dismissed and discontinued inh its

entirety, with prejudice, pursuant to Rule 41(a)(2) of the Federal Rules of Civil

Procedure. A copy of the signatures on this Stipulation serve the same purposes as an

original signature.

Dated: New York, New York

 

 

 

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Setoper] 12020
AKIN LAW Group PLLC PECHMAN LAW GROUP PLLC
Attorneys for Plaintiff Attorneys for Defendants
By: TS Yo By: I WD
y 7 y —— :
Robert Salaman, Esq. Louis Pechman, Esq.
45 Broadway #1420 Laura Rodriguez, Esq.
New York, NY 10006 488 Madison Avenue, 17th Floor
Tel.: (646)-817-8084 New York, NY 10022
Tel: (212) 583-9500
SO ORDERED.

 

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